                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


 IRA KLEIMAN, as the personal
 representative of the Estate of David
 Kleiman, and W&K Info Defense Research,
 LLC
                                                       Case No. 9:18-cv-80176-BB/BR
                     Plaintiffs,

            vs.

 CRAIG WRIGHT

                    Defendant.

         W&K’s Unopposed Motion for Extension of Time to File Motion for Fees

       Judgment-Creditor/Plaintiff W&K Info Defense Research, LLC requests the Court extend

by two weeks the deadline under Local Rule 7.3(b) to file its motion for fees.

           1. On May 14, 2024, this Court granted a two-week extension for W&K to file its

motion for fees awarded in connection with the Court’s Judgment-Debtor Wright in civil contempt.

ECF No. 1081.

           2. In the interim, W&K has held productive meet and confers with Wright’s counsel

regarding the motion, and W&K believes additional time for conferral could help in narrowing

and/or resolving Wright’s contemplated objections.

           3. Accordingly, W&K requests that the Court extend this deadline by an additional

two weeks, to June 11, 2024, to allow the parties to continue with the meet and confer process in

advance of filing the motion.
           4. Counsel for Wright represented he does not oppose this motion in light of the

Court’s recent order, ECF No. 1081, but reserves all rights regarding arguments about timeliness

and Plaintiff’s compliance with Rule 7.3.

       For the reasons stated above, W&K therefore respectfully request that the Court extend the

deadline to file its fee motion by two weeks, to June 11, 2024.

                             S.D. FLA. L.R. 7.1 CERTIFICATION

       Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for the movant has conferred with all parties

or non-parties who may be affected by the relief sought in the motion in a good faith effort to

resolve the issues raised in the motion and has been unable to resolve the issues.


 Dated: May 28, 2024                          Respectfully submitted,

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Counsel to Plaintiffs Ira Kleiman as
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David Kleiman and W&K Info Defense
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